        Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 1 of 35




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF GEORGIA
                            MACON DIVISION

  RICKY J. YODER,

         Plaintiff,

         vs.                                          CIV. ACTION NO.5:21-cv-00266

  JORDAN FOREST PRODUCTS,                             JURY TRIAL DEMANDED
  LLC, JOHN RIMMER, ROBBIE
  FINCH, MARCUS HART, and
  ROGER REED,

         Defendants.


                            COMPLAINT FOR DAMAGES

      COMES NOW Plaintiff Ricky J. Yoder, by and through the undersigned

Counsel of Record, and hereby files this Complaint for Damages against Defendants

Jordan Forest Products, LLC, John Rimmer, Roger Reed, Marcus Hart, and Robbie

Finch (collectively, “Defendants”), respectfully showing the Court as follows:




                                              Page 1 of 35
               Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                         Complaint for Damages
        Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 2 of 35




                           I. JURISDICTION AND VENUE

                                              1.

      Plaintiff Rickey J. Yoder brings the above-captioned case pursuant to (a) Title

VII of the Civil Rights Act of 1964, as amended (“Title VII”), 42 U.S.C. §§ 2000e,

et seq., for sexual harassment (hostile work environment) and retaliation and (b) the

laws of the State of Georgia for assault, battery, defamation, intentional infliction of

emotional distress, as well as negligent retention and supervision.

                                              2.

      The United States District Court for the Middle District of Georgia (“Court”)

is vested with original jurisdiction pursuant to 28 U.S.C. § 1331 because the above-

captioned complaint involves the laws of the United States and with supplemental

jurisdiction pursuant to 28 U.S.C. § 1367 because the State law claims arise from

the same nucleus of operative facts as the Federal law claims.

                                              3.

      Venue is proper pursuant to 28 U.S.C. § 1391 because Defendants reside

and/or maintain a place of business in the Middle District of Georgia, Macon

Division, and the unlawful conduct forming the basis of the above-captioned

complaint occurred in the Middle District of Georgia, Macon Division.



                                              Page 2 of 35
               Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                         Complaint for Damages
        Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 3 of 35




                                             4.

      Prior to commencing this matter, Plaintiff satisfied all administrative

prerequisites to institute the above-captioned case. Specifically, Plaintiff timely

filed a Charge of Discrimination with the Equal Employment Opportunity (“EEOC”)

within one-hundred-and-eighty (180) calendar days from the day the discrimination

took place (Charge No. 410-2021-01615) and Plaintiff has timely commenced the

above-captioned case within ninety (90) days of receipt of the Notice of Right to

Sue, dated May 17, 2021.

                                         II. PARTIES

                                             5.

      Plaintiff Ricky J. Yoder (“Yoder” or “Plaintiff”) is a twenty-four (24) year old

Native-American male, who is a citizen of the United States, resident of the State of

Georgia, Lamar County, subject to this Court’s jurisdiction, and entitled to bring the

claims asserted in the above-captioned case.

                                             6.

      At all relevant times, Yoder was employed by Jordan Forest Products, LLC,

within the meaning of, among other laws, the Title VII, 42 U.S.C. § 2000e(f).




                                             Page 3 of 35
              Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                        Complaint for Damages
         Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 4 of 35




                                             7.

      Defendant Jordan Forest Products, LLC, (“Jordan Forest”) is a North Carolina

limited liability company registered with the Georgia Secretary of State, Control

Number 432661.

                                             8.

      Jordan Forest is a lumber and supply company that affects inter-State

commerce through the operation of mills in several locations, including, but not

limited to, the mill located in Barnesville, Georgia.

                                             9.

      Jordan Forest is subject to the Court’s jurisdiction with a principle office

located at 1939 N.C. Highway 109 S., P.O. Box 98, Mount Gilead, North Carolina

27306.

                                             10.

      Jordan Forest is an “employer” within the meaning of, among other laws, Title

VII, 42 U.S.C. § 2000e(b), with more than fifty (50) employees for each working

day in each of the fifty (50) or more calendar weeks in the current or preceding

calendar year while engaging in inter-state commerce.




                                             Page 4 of 35
              Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                        Complaint for Damages
          Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 5 of 35




                                              11.

      Jordan Forest may be served with process through C T Corporation System,

289 S. Culver Street, Lawrenceville, Georgia 30046-4805.

                                              12.

      Defendant John Rimmer (“Rimmer”)—Caucasian male—was, at all relevant

times, a citizen of the United States, resident of the State of Georgia, and subject to

the jurisdiction of this Court.

                                              13.

      Rimmer served, at all relevant times, as a Lead Millwright involved in the

day-to-day operation of Jordan Forest’s mill, and regularly exercised authority to:

(a) hire and terminate employees, (b) determine the schedules and assignments for

employees, (c) supervise employees, and (d) otherwise control operation of Jordan

Forest.

                                              14.

      Rimmer may be served at Jordan Forest located at 752 Grove Street,

Barnesville, Georgia 30204.




                                              Page 5 of 35
               Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                         Complaint for Damages
        Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 6 of 35




                                              15.

      Defendant Roger Reed (“Reed”)—Caucasian male—was, at all relevant

times, a citizen of the United States, resident of the State of Georgia, and subject to

the jurisdiction of this Court.

                                              16.

      Reed served, at all relevant times, as a Manager involved in the day-to-day

operation of Jordan Forest’s mill, and regularly exercised authority to: (a) hire and

terminate employees, (b) determine the schedules and assignments for employees,

(c) supervise employees, and (d) otherwise control operation of Jordan Forest.

                                              17.

      Reed may be served at Jordan Forest located at 752 Grove Street, Barnesville,

Georgia 30204.

                                              18.

      Defendant Robbie Finch (“Finch”)—Caucasian male—was, at all relevant

times, a citizen of the United States, resident of the State of Georgia, and subject to

the jurisdiction of this Court.




                                              Page 6 of 35
               Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                         Complaint for Damages
        Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 7 of 35




                                              19.

      Finch served, at all relevant times, as a Manager involved in the day-to-day

operation of Jordan Forest’s mill, and regularly exercised authority to: (a) hire and

terminate employees, (b) determine the schedules and assignments for employees,

(c) supervise employees, and (d) otherwise control operation of Jordan Forest.

                                              20.

      Finch may be served at Jordan Forest located at 752 Grove Street, Barnesville,

Georgia 30204.

                                              21.

      Defendant Marcus Hart (“Hart”)—Caucasian male—was, at all relevant

times, a citizen of the United States, resident of the State of Georgia, and subject to

the jurisdiction of this Court.

                                              22.

      Hart was, at all relevant times, an employee of Jordan Forest.

                                              23.

      Hart may be served at Jordan Forest located at 752 Grove Street, Barnesville,

Georgia 30204.




                                              Page 7 of 35
               Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                         Complaint for Damages
          Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 8 of 35




                            III. FACTUAL ALLEGATIONS

                                              24.

      Yoder re-alleges and incorporates each and every preceding Paragraph of the

above-captioned complaint as if set forth fully herein.

                                              25.

      Jordan Forest provides, inter alia, is a lumber and supply provider from mills

in several States, including, but not limited to, its mill located in Barnesville, Georgia

(“Mill”).

                                              26.

      Yoder is a twenty-four (24) year-old Native-American male.

                                              27.

      After completing high school, Yoder completed industrial maintenance and

electrical technician training, as well as became a certified crane operator and

welder.

                                              28.

      On or about February 24, 2020, Yoder became employed by Jordan Forest at

the Mill as Millwright, responsible for repairing, installing, and replacing industrial

machinery.



                                              Page 8 of 35
               Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                         Complaint for Damages
        Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 9 of 35




                                             29.

      Immediately upon the commencement of Yoder’s employment, Rimmer and

other Jordan Forest employees, began sexually harassing Yoder on a daily,

continual, and regular basis.

                                             30.

      On almost a daily basis at the Mill, Rimmer subjected Yoder to unwelcomed

sexual advances and comments. For example, Rimmer repeatedly made humping

gestures towards and near Yoder. On multiple occasions, Rimmer instructed Yoder

to “suck my dick” and or declared, “Eh, Yoder come over and suck my dick.”

                                             31.

      Finch, Jordan Forest Manager, started a false rumor, which spread throughout

the Mill, that Yoder performed oral sex on a male employee in the electrical control

room. For example, on a daily basis at the Mill, several Jordan Forest employees

made “dick sucking” comments and accusations about Yoder. Moreover, Jordan

Forest employees physically grabbed Yoder and declared, “Hey, come on and suck

my dick.”

                                             32.

      Faced with the unyielded and unrelenting sexual advances, comments, and

offers, Yoder eventually summoned the courage to complain about the unwelcome

                                             Page 9 of 35
              Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                        Complaint for Damages
       Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 10 of 35




sexual advances to Jordan Forest management. In or about March 2020, Yoder

complained to his direct supervisor, Rimmer, who would simply respond, “I don’t

give a fuck, you need to get thicker skin.” When Rimmer failed to take any remedial

action, Yoder then complained to several members of Jordan Forest’s management,

including, but not limited to, Reed, Kevin Carpenter who suggested that Yoder

“leave it be,” and Chris Nipper (“Nipper”) who stated that “no one would do

anything.” Additionally, Nipper stated that Yoder would have to “suck it up” or “get

thicker skin or you shouldn’t be in this line of work.” Jordan Forest refused to

address Yoder’s complaints about sexual harassment or take any remedial actions.

                                             33.

      Rather than take remedial actions based upon Yoder’s complaints about

sexual harassment, Defendants engaged in a retaliatory campaign against Yoder.

For example, immediately following Yoder’s complaints, Jordan Forest employees

continued, escalated, and increased the unwelcome sexual advances and comments.

Indeed, the sexual advances and comments became increasing vulgar and frequent,

such that Yoder avoided co-workers and restrooms, where the sexual advances and

comments frequently occurred. Moreover, Reed told Yoder that, if Yoder kept

complaining and/or escalated the sexual harassment issues/complaints, Yoder’s



                                            Page 10 of 35
              Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                        Complaint for Damages
       Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 11 of 35




employment would be terminated. Defendants viewed Yoder’s complaints as an

annoyance.

                                             34.

      Faced with the intolerable hostile work environment, unwelcome sexual

comments and advances, as well as public humiliation, Yoder was constructively

discharged and forced to resign from Jordan Forest in or about June 2019.

                                             35.

      Following Yoder’s constructive discharge and forced resignation, Reed

approached Yoder a local grocery store, Ingles, where Reed convinced Yoder to

return Jordan Forest with the promise that Yoder would not again face the same

sexual harassment, assaults, batteries, infliction of emotional distress, and

defamation Yoder previously experienced at the Mill.

                                             36.

      Yoder resumed his employment with Jordan Forest at the Mill in or about

December 2019. Despite Reed’s promises, immediately upon returning to the Mill,

Jordan Forest employees resumed making unwelcome sexual advances and

comments directed to Yoder. Moreover, Hart repeatedly threatened to attack and

fight Yoder. In fact, on at least one occasion in the presence of supervisors, team

leads, and Rimmer, Hart physically assaulted Yoder with a wrench. Rather than take

                                            Page 11 of 35
              Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                        Complaint for Damages
         Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 12 of 35




any remedial action, Rimmer simply instructed Yoder and Hart to HR. Although

HR promised to separate Yoder and Hart in the workplace, HR never relocated Hart

or Yoder. Emboldened by HR’s refusal to take any remedial action, Yoder was again

subjected to continued, escalated, and increased unwelcome sexual advances,

comments, and assaults.

                                              37.

        Faced with the intolerable hostile work environment, unwelcome sexual

comments and advances, as well as public humiliation, Yoder was again

constructively discharged and forced to resign from Jordan Forest on December 26,

2020.

                                              38.

        Prior to the constructive terminations and/or forced resignations and despite

being sexually harassed, assaulted, battered, and defamed, Yoder diligently

performed professional duties at the Mill.

                                              39.

        Defendants’ conduct caused Yoder to feel anxious, dejected, humiliated,

violated, victimized, traumatized, and disrespected.




                                             Page 12 of 35
               Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                         Complaint for Damages
        Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 13 of 35




                                             40.

      At all relevant times, Defendants had actual and constructive notice and

knowledge of the repeated, ongoing, and constant sexual harassment directed to

Yoder at the Mill, however, Defendants failed to take any remedial action to address

Yoder’s complaints and concerns, but rather, continued to subject Yoder to

unwelcome sexual advances and comments while threatening to terminate Yoder’s

employment if he continued to complain.

                              IV. CLAIMS FOR RELIEF

                                     COUNT I
                             SEXUAL HARASSMENT
                        HOSTILE WORK ENVIRONMENT
                          IN VIOLATION OF TITLE VII
                         (Against Defendant Jordan Forest)

                                             41.

      Yoder re-alleges and incorporates each and every preceding Paragraph of the

Complaint as if set forth fully herein.




                                            Page 13 of 35
              Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                        Complaint for Damages
        Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 14 of 35




                                             42.

      Title VII prohibits employers from discriminating against an employee based

upon sex/gender, including sexual harassment in the form of unwelcome sexual

advances, requests for sexual favors, and other verbal or physical conduct of a sexual

nature with the purpose or effect of unreasonably interfering with an employee’s

performance or creating an intimidating, hostile, and/or offensive work environment.

                                             43.

      Defendants violated Title VII, such that a cause of action exists where

discrimination on the basis of gender/sex was the causative agent of adverse actions

directed at Yoder by Defendants.

                                             44.

      Yoder, as a twenty-four (24) year old Native-American male, is a member of

a protected group under Title VII.

                                             45.

      From on or about February until December 2020, an employer-employee

relationship existed between Yoder and Jordan Forest, such that Yoder was an

“employee” and Jordan Forest was an “employer” within the meaning Title VII.




                                            Page 14 of 35
              Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                        Complaint for Damages
        Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 15 of 35




                                             46.

      At all times relevant to this action, Jordan Forest acted by and through its

agents and employees, including, but not limited to, Rimmer and Reed, each of

whom acted in the course and scope of their employment with and for Jordan Forest.

                                             47.

      While employed by Jordan Forest, Yoder was forced to endure, because of

her gender/sex, a hostile work environment, sexual assault, and sexual battery, where

Yoder was subjected to adverse employment action(s) while forced to endure

inflammatory remarks, harassment, intimidation, humiliation without any legitimate

basis, as well as constant unwelcome sexual comments and advances without any

legitimate basis.

                                             48.

      During the course of Yoder’s employment, Rimmer, Finch, and several Jordan

Forest employees repeatedly subjected Yoder to unwelcome sexual comments and

advances, including, but not limited to, repeatedly making humping (sexual)

gestures toward Yoder, requesting that Yoder perform oral sex, making sexual jokes

about Yoder, physically grabbing Yoder, as well as making other unwelcome sexual

advances and comments towards Yoder.



                                            Page 15 of 35
              Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                        Complaint for Damages
       Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 16 of 35




                                             49.

      The almost daily unwelcome sexual comments and advances by Jordan Forest

employees towards Yoder were severe and pervasive, materially affecting the terms

and conditions of Yoder’s employment.

                                             50.

      When Yoder refused to comply with, and reported, the constant, unwelcome

sexual comments and advances, Rimmer and other Jordan Forest employees

aggressively escalated the sexual harassment, assaults, and batteries while

Defendants subjected Yoder to tangible employment actions, including, but not

limited to, threatened termination of employment, constructive termination of

employment, and/or forced resignation from employment.

                                             51.

      The discrimination to which Yoder was subjected to by Defendants was based

upon gender/sex in violation of Title VII and, thus, Yoder is entitled to all

appropriate relief provided under the law.

                                             52.

      Defendants’ actions constituted discrimination and disparate, adverse

treatment based upon gender/sex such that the intentional actions by Defendants

adversely impacted Yoder’s terms, conditions, and privileges of employment.

                                            Page 16 of 35
              Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                        Complaint for Damages
        Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 17 of 35




                                             53.

      Defendants’ actions created a hostile work environment based upon

gender/sex such that the intentional actions by Defendants adversely impacted

Yoder’s terms, conditions, and privileges of employment.

                                             54.

      Defendants’ discriminatory conduct was accomplished pursuant to an

unofficial policy, practice, and/or custom of Defendants.

                                             55.

      As a direct and proximate result of Defendants’ intentional and unlawful

conduct, which was intended to cause Yoder harm and/or was committed with

reckless disregard of the harm caused to Yoder, in derogation of Yoder’s Federally-

protected rights, Yoder suffered and continue to suffer emotional pain and suffering,

mental anguish, humiliation, loss of enjoyment of life, embarrassment, danger to

their reputation, and other pecuniary loses.

                                             56.

      Defendants’ intentional and illegal conduct entitles Yoder to compensatory

damages, as well as any and all other remedies available under Title VII.




                                            Page 17 of 35
              Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                        Complaint for Damages
        Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 18 of 35




                                              57.

      Defendants’ actions with regard to Yoder demonstrate willful misconduct,

malice, fraud, wantonness, oppression, and a complete lack of care and, therefore,

Yoder is entitled to an award of punitive damages to deter, punish, and penalize

Defendants for and from similar future conduct.

                                      COUNT II:
                                    RETALIATION
                            IN VIOLATION OF TITLE VII
                           (Against Defendant Jordan Forest)

                                             58.

      Yoder re-alleges and incorporates by reference each of the foregoing

paragraphs as if fully restated herein.

                                             59.

      Title VII prohibits employers from retaliating against an employee who

opposes an employment practice prohibited by, or exercise or attempt to exercise

rights under, Title VII.

                                             60.

      Yoder is a twenty-four (24) year old Native-American male and member of a

protected group under Title VII.




                                             Page 18 of 35
               Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                         Complaint for Damages
        Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 19 of 35




                                             61.

       During the relevant period, the relationship between Yoder and Jordan Forest

was an employer-employee relationship within the meaning of Title VII, such that a

cause of action exists where retaliation on the basis of opposing and/or reporting

discrimination is alleged to be the causative agent of adverse employment action(s)

directed to Yoder by Defendants.

                                             62.

       During the course of Yoder’s employment, Defendants unlawfully and

knowingly discriminated against Yoder based upon, among other things, gender/sex

in violation of, inter alia, Title VII.

                                             63.

       Yoder repeatedly complained to Rimmer, Reed, and Defendants’

management about unlawful employment practices based upon gender/sex and

sexual harassment in violation of Title VII.




                                             Page 19 of 35
               Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                         Complaint for Damages
        Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 20 of 35




                                             64.

       Immediately following Yoder’s complaints concerning, among other things,

unlawful employment practices and sexual harassment, Reed threatened to terminate

Yoder’s employment, the unwelcome sexual advances and comments escalated, and

Yoder was constructively discharged and/or forced to resign from Jordan Forest in

violation of, inter alia, Title VII.

                                              65.

       The effect of Defendants’ actions has been to suspend and deprive Yoder of

an employment position, as well as loss income in the form of wages, prospective

retirement benefits, social security, and other benefits due Yoder because of the

exercise of Yoder’s Federally-protected rights.

                                              66.

       Defendants’ adverse employment action(s) against Yoder constitute unlawful

retaliation against Yoder in violation of, inter alia, Title VII.

                                             67.

       Defendants’ retaliatory actions were willful, deliberate, and intended to cause

Yoder’s harm and/or were committed with reckless and wanton disregard of the

harm causes to Yoder in derogation of Yoder’s Federally-protected rights.



                                             Page 20 of 35
               Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                         Complaint for Damages
          Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 21 of 35




                                              68.

         Defendants’ discriminatory and retaliatory actions were undertaken in bad-

faith.

                                              69.

         The retaliation to which Yoder was subjected by Defendants entitles Yoder to

all appropriate relief afforded under the law.

                                              70.

         As a result of Defendants’ intentional and unlawful actions, Yoder has

suffered lost compensation and other benefits of employment, physical and

emotional distress, inconvenience, humiliation, damage to her reputation, other

indignities, as well as past and future pecuniary losses.

                                              71.

         Defendants’ actions with respect to Yoder have demonstrated willful

misconduct, malice, fraud, wantonness, oppression, and a complete want of care,

and thus, Yoder is entitled to an award of punitive damages to deter, punish, and

penalize Defendants for and from similar future conduct.




                                              Page 21 of 35
                Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                          Complaint for Damages
          Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 22 of 35




                         COUNTS III AND IV:
                       ASSAULT AND BATTERY
     IN VIOLATION OF THE LAWS OF THE STATE OF GEORGIA
          (Against Defendants Jordan Forest, Rimmer, and Hart)

                                              72.

     Yoder re-alleges and incorporates, by reference, each and every preceding

Paragraph of the Complaint as if set forth fully herein.

                                              73.

     Georgia law prohibits, among other things, intentional conduct causing

physical harm to another person.

                                              74.

     Additionally, Georgia law prohibits, among other things, attempted batteries

and/or conduct that places another person in reasonable apprehension of an

immediate violent injury.

                                              75.

     At all relevant times, Rimmer, Hart, and Yoder were employed by Jordan

Forest.




                                             Page 22 of 35
               Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                         Complaint for Damages
         Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 23 of 35




                                              76.

        During the course of employment, Yoder was required, as a Millwright to

work under the instruction and direct supervision of Rimmer and Managers at the

Mill.

                                              77.

        Despite Yoder’s repeated objections, opposition, reports, and complaints,

Rimmer repeatedly made unwelcome sexual comments and advances, including,

but not limited to, making humping sexual gestures toward Yoder, instructing

Yoder to perform oral sex on Rimmer, physically grabbing Yoder while requesting

oral sex, as well as making other unwelcome sexual advances and remarks directed

toward Yoder.

                                              78.

        In addition to Rimmer’s repeated physical sexual contact and requests for

sexual favors, Hart repeatedly threatened to fight and attack Yoder before

physically assaulting Yoder with wrench.

                                              79.

        Repeated physical attacks and assaults, which were willful, intentional, and

directed towards Yoder by Rimmer, Hart, and other Jordan Forest employees for

reasons personal to those individuals, proceeded from anger, rudeness, and/or lust.

                                             Page 23 of 35
               Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                         Complaint for Damages
       Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 24 of 35




                                             80.

      When Yoder refused to comply with, and reported, the constant, unwelcome

sexual comments and advances, Defendants began to subject Yoder to retaliatory

adverse employment actions.

                                             81.

       Although Yoder repeatedly complained to Defendants’ management

concerning the unwelcome sexual advances and remarks, as well as threatening

conduct, Defendants failed to take any remedial action.

                                             82.

      As a direct result of the repeated offensive comments, sexist remarks, forceful

physical contact and assaults, as well as increasingly aggressive sexual actions by

Rimmer, Hart, and Jordan Forest employees, Yoder reasonably apprehended a

violent injury and/or battery.

                                             83.

      All apparent circumstances, reasonably viewed, were such as to lead a person

to reasonably apprehend a violent injury and/or battery from the unlawful conduct

of Rimmer, Hart, and other Jordan Forest employees.




                                            Page 24 of 35
              Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                        Complaint for Damages
          Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 25 of 35




                                              84.

      Rimmer, Hart, and the other Jordan Forest employees were not privileged,

authorized, or justified when repeatedly touching and threatening Yoder in a sexual

manner.

                                              85.

      When repeatedly assaulting Yoder, Rimmer, Hart, and other Jordan Forest

employees were performing within the scope of their employment with Jordan

Forest.

                                              86.

      As the direct and proximate result of Defendants’ intentional, willful,

unlawful, and tortious conduct, Yoder has suffered, among other things, fear,

humiliation, embarrassment, mental anguish, physical injuries, and damages in an

amount to be determined at trial.

                                             87.

      Defendants’ tortious actions and conduct were undertaken in bad-faith.

                                             88.

      The assaults and batteries to which Yoder was subjected by Defendants

entitles Yoder to all appropriate relief afforded under the law.



                                             Page 25 of 35
               Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                         Complaint for Damages
          Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 26 of 35




                                             89.

      Defendants’ actions with respect to Yoder have demonstrated willful

misconduct, malice, fraud, wantonness, oppression, and a complete want of care,

and thus, Yoder is entitled to an award of punitive damages to deter, punish, and

penalize Defendants for and from similar future conduct.

                                COUNT V:
        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
      IN VIOLATION OF THE LAWS OF THE STATE OF GEORGIA
     (Against Defendants Jordan Forest, Rimmer, Reed, Hart, and Finch)

                                              90.

      Yoder re-alleges and incorporates, by reference, each and every preceding

Paragraph of the Complaint as if set forth fully herein.

                                              91.

      Defendants’ statements, conduct, and behavior towards Yoder were

intentional and reckless, extreme and outrageous, causing Yoder severe shame,

humiliation, embarrassment, and emotional distress of a nature that no person should

endure.

                                              92.

      Defendants’ statements, conduct, and behavior towards Yoder demonstrate,

among other things, a “retaliatory animus.”


                                             Page 26 of 35
               Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                         Complaint for Damages
       Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 27 of 35




                                             93.

      At all relevant times, the Parties had a special, employer-employee

relationship, wherein Defendants had control over Yoder, as well as Yoder’s income

and/or livelihood during a Global Pandemic.

                                             94.

      When engaging in the intentional, reckless, extreme, and outrageous conduct

towards Yoder, Defendants knew that Yoder was dependent upon the income

received from with employment with Jordan Forest.

                                             95.

      Rimmer, Finch, and other Jordan Forest employees repeatedly subjected

Yoder to unwelcome sexual comments and advances, including, but not limited to,

sexual humping gestures, instructions to perform oral sex, false rumors about

Yoder’s sexual conduct, physical grabbing, as well as other unwelcome sexual

advances and remarks.

                                             96.

      Rimmer, Hart, and other Jordan Forest employees repeatedly subjected Yoder

to physical assaults and batteries, including, but not limited to, Hart’s attacks and

physical assaults with a wrench, as well as Rimmer’s physical grabbing while

requesting sexual favors.

                                            Page 27 of 35
              Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                        Complaint for Damages
       Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 28 of 35




                                             97.

      When Yoder complained about the unwelcome sexual advances and

comments, assaults, and batteries, Reed threatened to terminate Yoder’s

employment.

                                             98.

      Defendants knew or should have known that such conduct would result in the

severe emotional distress suffered by Yoder.

                                             99.

      As a result of Defendants’ conduct, Yoder has and will continue to suffer

severe emotional distress and other damages for Yoder is entitled to recover.

                              COUNT VI
                            DEFAMATION
      IN VIOLATION OF THE LAWS OF THE STATE OF GEORGIA
              (Against Defendants Jordan Forest and Finch)

                                            100.

      Yoder re-alleges and incorporates, by reference, each and every preceding

Paragraph of the Complaint as if set forth fully herein.




                                            Page 28 of 35
              Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                        Complaint for Damages
       Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 29 of 35




                                            101.

      Following Rimmer’s unwelcome sexual advances and comments toward

Yoder, Finch published and stated to other Jordan Forest employees that Yoder was

performing oral sex on other male Jordan Forest employees at the Mill.

                                            102.

      Finch knowingly and maliciously spread false rumors about Yoder

performing oral sex on male Jordan Forest employees at the Mill to impugn Yoder’s

personal and professional character in violation of Georgia law.

                                            103.

      When falsely and maliciously stating that Yoder was performing oral sex on

other male Jordan Forest employees at the Mill, Finch was acting within the scope

of his employment with Jordan Forest.

                                            104.

      Finch’s false and malicious statements concerning Yoder performing oral sex

on other male Jordan Forest employees at the Mill were intended to injure the

reputation of Yoder while exposing Yoder to public hate, contempt, and ridicule,

and resulted in constructive termination of employment and/or forced resignation of

employment with Jordan Forest.



                                            Page 29 of 35
              Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                        Complaint for Damages
        Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 30 of 35




                                             105.

      Finch’s false and malicious statements about Yoder performing oral sex on

other male Jordan Forest employees at the Mill, which were directly related to

Yoder’s trade and profession, were also calculated to injure Yoder’s trade,

profession, and ability to earn a living.

                                             106.

      Although Finch’s false and malicious statements about Yoder performing oral

sex on other male Jordan Forest employees at the Mill were not privileged, to the

extent any privilege existed, the privilege was merely a cloak for venting private

malice toward Yoder and not bona fide in promoting the object for which any

privilege was granted.

                                             107.

      As a direct and proximate result of Finch’s false and malicious statements

about Yoder performing oral sex on other male Jordan Forest employees at the Mill,

Yoder has suffered and continues to suffer damages in the form emotional pain and

suffering, mental anguish, humiliation, loss of enjoyment of life, embarrassment,

danger to reputation, litigation expenses, and other pecuniary losses.




                                             Page 30 of 35
               Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                         Complaint for Damages
        Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 31 of 35




                                            108.

       Defendants’ actions with respect to Yoder have demonstrated willful

misconduct, malice, fraud, wantonness, oppression, and a complete want of care,

and thus, Yoder is entitled to an award of punitive damages to deter, punish, and

penalize Defendants for and from similar future conduct.

                               COUNT VII
               NEGLIGENT RETENTION AND SUPERVISION
                   IN VIOLATION OF GEORGIA LAW
                     (Against Defendant Jordan Forest)

                                             109.

       Yoder re-alleges and incorporates, by reference, each and every preceding

Paragraph of the Complaint as if set forth fully herein.

                                             110.

       As a result of the actions taken by Defendants, Yoder suffered, among

other things, assaults, batters, defamation, discrimination based gender/race, and

retaliation.

                                             111.

       Defendants owed Yoder a duty to hire, retain, and supervise employees who

would lawfully conduct themselves and not engage in discriminatory, retaliatory,

and/or tortious conduct.


                                             Page 31 of 35
               Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                         Complaint for Damages
        Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 32 of 35




                                            112.

      By negligently retaining and supervising its employees, including, but not

limited to, Rimmer, Finch, Hart and Reed, Jordan Forest breached the duty to hire,

retain, and supervise employees who would lawfully behave.

                                            113.

      Jordan Forest knew or, in the exercise of ordinary diligence, should have

known of the propensity of its employees, to engage in unlawful conduct against

Yoder, who repeatedly complained about and reported Rimmer’s, Finch’s, Hart’s

and Reed’s tortious and unlawful conduct to Jordan Forest.

                                            114.

      By failing to engage in any corrective or remedial action, Jordan Forest

ratified, condoned, and/or adopted its employees’ unlawful conduct.

                                            115.

      As a direct and proximate result of Jordan Forest’s negligent retention and

supervision of its employees, as well as the failure to take any remedial or corrective

action with respect to the known unlawful actions taken by employees, including,

but not limited to, Rimmer, Reed, Hart, and Finch, Yoder suffered damages.




                                            Page 32 of 35
              Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                        Complaint for Damages
        Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 33 of 35




                                            116.

      Jordan Forest’s negligent conduct entitles Yoder to compensatory damages,

punitive damages, as well as any and all other remedies available under the law.

                                 PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully demand a trial by jury and request the

following relief:

      (a)    That the Clerk of the Court issue summons and original process, served

             upon Defendants and any other person or entity the Court deems

             necessary in accordance with the law;

      (b)    That the Court grant declaratory judgment that Plaintiff’s rights under,

             among other laws, Title VII and the State of Georgia were violated;

      (c)    That the Court award Plaintiff compensatory damages for all injuries

             suffered as a result of Defendants’ unlawful conduct;

      (d)    That the Court award back pay, including, but not limited to, unpaid

             back wages, lost income, bonuses, incentive compensation, pension,

             social security, and other benefits in amounts to be shown at trial;

      (e)    That the Court award liquidated damages equal to back pay and lost

             benefits based upon Defendants’ willful violations of, inter alia, Title

             VII;

                                            Page 33 of 35
              Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                        Complaint for Damages
 Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 34 of 35




(g)   That the Court award punitive damages in an amount reasonable and

      commensurate with the harm done and calculated to be sufficient to

      deter such future conduct;

(h)   That the Court award pre-judgment interest on any monetary award;

(i)   That the Court grant a trial by jury as to all triable issues of fact; and

(j)   Further and additional relief as may be just and appropriate.

Respectfully submitted, this 28th day of July, 2021.

                                        MOLDEN & ASSOCIATES

                                         /s/ Regina S. Molden
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                                     Page 34 of 35
       Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                 Complaint for Damages
        Case 5:21-cv-00266-TES Document 1 Filed 07/28/21 Page 35 of 35




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF GEORGIA
                            MACON DIVISION

  RICKY J. YODER,

         Plaintiff,

         vs.                                          CIV. ACTION NO. 5:21-cv-00266

  JORDAN FOREST PRODUCTS,                             JURY TRIAL DEMANDED
  LLC, JOHN RIMMER, ROBBIE
  FINCH, and ROGER REED,

         Defendants.


               LOCAL RULE AND SERVICE CERTIFICATION

      The undersigned counsel certifies that this document has been prepared in

accordance with the Local Rules and that the foregoing Complaint for Damages has

been filed with the Clerk using the CM/ECF system which will notify the attorney(s)

of record.

      Respectfully submitted, this 28th day of July, 2021.

                                                MOLDEN & ASSOCIATES


                                                T. ORLANDO PEARSON
                                                Georgia Bar No. 180406




                                             Page 35 of 35
               Yoder v. Jordan Forest Products, LLC, et al., Civ. Action No. 5:21-cv-00266
                                         Complaint for Damages
